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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff/Respondent,                  Criminal No. 06-20234
                                              Civil No. 14-13557
 v.
                                              Hon. John Corbett O’Meara
 AHMAD DANIELS,

      Defendant/Petitioner.
 _____________________________/

                OPINION AND ORDER DENYING MOTION
              TO VACATE SENTENCE UNDER 28 U.S.C. § 2255

       Before the court is Petitioner Ahmad Daniels’s motion to vacate sentence

 pursuant to 28 U.S.C. § 2255, filed September 11, 2014. The government

 submitted a response on November 6, 2014; Petitioner filed a reply brief on

 November 24, 2014.

                               BACKGROUND FACTS

       This case involves a drug-trafficking conspiracy. Following a jury trial, on

 April 29, 2008, Petitioner was convicted of conspiracy to distribute a controlled

 substance, among other drug and firearms offenses. He was sentenced on February

 3, 2009, to 262 months in prison. After Petitioner appealed his sentence, the Sixth

 Circuit remanded the case for re-sentencing. On June 21, 2011, the court re-

 sentenced Petitioner to 262 months of imprisonment. Petitioner appealed and the
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 Sixth Circuit affirmed his sentence. The U.S. Supreme Court denied Petitioner’s

 petition for a writ of certiorari on October 9, 2013.

                               LAW AND ANALYSIS

       Petitioner seeks habeas relief pursuant to 28 U.S.C. § 2255 based upon a

 claim of ineffective assistance of counsel. Specifically, Petitioner contends that his

 counsel was ineffective for (1) failing to make a Batson challenge during jury

 selection and (2) because the court considered evidence of drug amounts at the

 time of re-sentencing that was not presented to the grand jury.

       In order to establish a violation of the Sixth Amendment right to effective

 assistance of counsel, Petitioner must demonstrate that “counsel’s performance was

 deficient . . . [and] that the deficient performance prejudiced the defense.”

 Strickland v. Washington, 466 U.S. 668, 687 (1984). In determining whether

 counsel’s performance was deficient,

              [t]he court must . . . determine whether, in light of all the
              circumstances, the identified acts or omissions were
              outside the wide range of professionally competent
              assistance. . . . At the same time, the court should
              recognize that counsel is strongly presumed to have
              rendered adequate assistance and made all significant
              decisions in the exercise of reasonable professional
              judgment.

 Strickland, 466 U.S. at 690. See also id. at 689 (“There are countless ways to

 provide effective assistance in any given case. Even the best criminal defense

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 attorneys would not defend a particular client in the same way.”). The defense was

 prejudiced if “there is a reasonable probability that, but for counsel’s

 unprofessional errors, the result of the proceeding would have been different.” Id.

 at 694. Counsel is not ineffective for failing to make a meritless or futile objection.

 See Harris v. United States, 204 F.3d 681, 683 (6th Cir. 2000).

       With respect to Petitioner’s jury selection claim, counsel’s performance was

 not deficient. Petitioner contends that his counsel should have objected to the

 dismissal of two African-American jurors. Petitioner’s trial counsel properly did

 not assert a Batson challenge because these jurors were not dismissed as a result of

 peremptory challenges exercised by the government. See Batson v. Kentucky, 476

 U.S. 79, 96-97 (1986) (addressing prosecutor’s intentional discrimination in jury

 selection by using peremptory challenges to remove African-American jurors).

 Rather, these jurors were dismissed by the court for cause. Juror No. 3, Ms.

 Barksdale, indicated that she could not be fair and impartial because her father-in-

 law was a retried police chief in Flint. See 4/22/08 TR at 50-56, 69. Juror No. 5,

 Ms. Powell, was excused because she had a vacation scheduled. See 4/22/08 TR at

 87,102-103, 108-110.

       Petitioner suggests that his counsel should have objected that there were no

 African-Americans on the petit jury. However, Petitioner was “not entitled to a


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 jury of any particular composition – only to a panel from which distinctive groups

 were not ‘systematically excluded.’” United States v. Allen, 160 F.3d 1096, 1103

 (6th Cir. 1998). Petitioner has not provided evidence that African-Americans were

 systematically excluded from the jury-selection process or that the jury venire did

 not represent a “fair cross-section” of the community. Id. Absent such evidence,

 his attorney was not ineffective by failing to object to the racial make-up of the

 jury. See also United States v. Bates, 2009 WL 5033928 (E.D. Mich. Dec. 15,

 2009) (although African-Americans are under-represented, they are not

 systematically excluded by Eastern District of Michigan jury selection process);

 United States v. Ferguson, 863 F. Supp.2d 661, 670 (E.D. Mich. 2012) (finding

 “the method for selecting juries in this district, while not perfect, comports with the

 Constitution and the Jury Selection and Service Act”).

       With respect to Petitioner’s drug quantity claim, his counsel was also not

 ineffective. Petitioner argues that his counsel was ineffective for failing to object

 to the court’s consideration of evidence about drug amounts at the time of re-

 sentencing that were not presented to the grand jury. The court initially sentenced

 Petitioner to 262 months in prison. However, the Sixth Circuit reversed, noting

 that the court did not make a particularized finding as to the drug quantity upon

 which the sentence was based.


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       Upon re-sentencing, the court found Petitioner responsible for ten kilograms

 of cocaine base. At the time, Petitioner’s counsel filed a sentencing memorandum

 which argued that there was no evidence tying him to that drug quantity, and that at

 most Petitioner was responsible for seventeen grams of cocaine. Making the same

 argument, Petitioner also appealed his sentence. The Sixth Circuit affirmed,

 finding that “the court made a conservative drug-quantity estimate supported by

 competent evidence.” United States v. Daniels, 506 Fed. Appx. 399, 399 (6th Cir.

 2012).

       The record demonstrates that Petitioner’s counsel effectively presented

 objections regarding the drug quantity estimate to the trial court and appeals court.

 Although these objections were ultimately found to be without merit, there is no

 indication in the record that counsel performed in a constitutionally deficient

 manner.

                                       ORDER

       For these reasons, IT IS HEREBY ORDERED that Petitioner Ahmad K.

 Daniels’s motion to vacate sentence is DENIED.



                                        s/John Corbett O’Meara
                                        United States District Judge

 Date: December 18, 2014

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        I hereby certify that a copy of the foregoing document was served upon the
 parties of record on this date, December 18, 2014, using the ECF system and/or
 ordinary mail.


                                       s/William Barkholz
                                       Case Manager




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